     Case 3:22-cv-00267-BAJ-SDJ            Document 208-10         12/09/24      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

MMR CONSTRUCTORS, INC.,                             :   CIV. NO. 22-267
                                                    :
        Plaintiff,                                  :
                                                    :
VERSUS                                              :   JUDGE BRIAN A. JACKSON
                                                    :
JB GROUP OF LA, LLC D/B/A                           :
INFRASTRUCTURE SOLUTIONS                            :
GROUP ET AL.                                        :   MAGISTRATE JUDGE RICHARD L.
                                                    :   BOURGEOIS, JR.
        Defendants.


                   RESPONSES TO ISG’S SIXTH SET OF REQUESTS FOR
               PRODUCTION OF DOCUMENTS TO MMR CONSTRUCTORS, INC

        NOW INTO COURT, through undersigned counsel, comes Plaintiff MMR Constructors,

Inc. (“MMR”), which in response to Defendant, JB Group of LA, LLC d/b/a Infrastructure

Solutions Group’s Sixth Set of Requests for Production of Documents, respectfully submits the

following:

REQUEST FOR PRODUCTION NO. 1:

      Forensic copies of the cellphone and computers used by Kevin Alexander during his
employment with MMR.

        RESPONSE TO REQUEST NO. 1:

         MMR objects to this request because it seeks irrelevant information and is not

proportional to the needs of the case. Forensic copies of the cellphone and computer that Kevin

Alexander used during his employment with MMR would include every document and piece of

information that is available on those devices, regardless of whether the documents and

information had any connection to the claims and defenses in this case. Specifically, the only

claims in this case relate to the misappropriation of MMR’s protected information, but this

request is not tailored in any way to those claims (or defenses to those claims). In fact, even for


#102333829v1                                    1

                                                                              EXHIBIT H
     Case 3:22-cv-00267-BAJ-SDJ             Document 208-10             12/09/24   Page 2 of 2




the devices that are subject to the Forensic Protocol that is geared toward discovering the actual

misappropriated documents and information, forensic copies of the devices are not discoverable

and have not been exchanged. Ultimately, this request does not seek relevant documents from

these devices in a manner that is proportional to the needs of the case.

        MMR is withholding the creation and/or production of forensic copies of these devices.



                                              Respectfully submitted:

                                              /s/ P.J. Kee
                                              P. J. Kee (La. Bar No. 34860)
                                              Thomas P. Hubert (La. Bar No. 19625)
                                              Michael W. Magner (La. Bar No. 01206)
                                              Jacob J. Pritt (La. Bar No. 38872)
                                              Michael A. Foley (La. Bar No. 35774)
                                              Jason A. Culotta (La. Bar No. 35731)
                                              Connor H. Fields (La. Bar No. 39880)
                                              JONES WALKER, LLP
                                              201 St. Charles Avenue - 50th Floor
                                              New Orleans, Louisiana 70170-5100
                                              Telephone: (504) 582-8000
                                              Facsimile: (504) 589-8230
                                              Email: pkee@joneswalker.com
                                              Counsel for MMR Constructors, Inc

                                 CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on all counsel of record for
Defendants by email on June 24, 2024.

                                                         /s/ P.J. Kee
                                                         P.J. Kee




#102333829v1                                     2
